          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:05CR31


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                      ORDER
                         )
                         )
MARTINEOUS LEON HOPPER )
                         )


     THIS MATTER is before the Court to schedule a resentencing

hearing as a result of the vacatur of Defendant’s sentence pursuant to the

Judgment issued in his motion to vacate set aside and correct sentence

filed May 27, 2009. See Hopper v. United States, Civil No. 1:08CV442.

     IT IS, THEREFORE, ORDERED that this matter is hereby scheduled

for resentencing on MONDAY, JULY 20, 2009, AT 10:30 AM, at the U.S.

Courthouse in Asheville, North Carolina.

     IT IS FURTHER ORDERED that counsel be appointed to represent

the Defendant at resentencing. The Probation Office is requested to

prepare a revised presentence report to reflect the correct calculations as

set forth in the Court’s Memorandum and Order granting Defendant’s




   Case 1:05-cr-00031-MR-WCM     Document 189   Filed 05/27/09   Page 1 of 2
                                       2

motion to vacate, and to file a copy of that report with the Court along with

copies to counsel for the Defendant and the Government.

      IT IS FURTHER ORDERED that the United States Marshal make

arrangements to have the Defendant transported from his place of

incarceration to the hearing and return him thereto after resentencing. The

United States Marshal shall ensure that the Defendant arrives in this

District prior to the hearing date in order that he may be afforded adequate

opportunity to confer with counsel in preparation for the resentencing

hearing.

      The Clerk of Court is directed to transmit this Order electronically to

the Federal Defenders Office, the United States Attorney, the United

States Marshal, the United States Probation Office, and via regular mail to

the Defendant.


                                       Signed: May 27, 2009




   Case 1:05-cr-00031-MR-WCM     Document 189     Filed 05/27/09   Page 2 of 2
